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                        Exhibit 7
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    The Securities and Exchange Commission has not necessarily reviewed the information in this filing and has
                                   not determined if it is accurate and complete.
                    The reader should not assume that the information is accurate and complete.

                   UNITED STATES SECURITIES AND EXCHANGE COMMISSION                                                     OMB APPROVAL
                                                  Washington, D.C. 20549
                                                                                                                                            3235-
                                                           FORM D                                                     OMB Number:
                                                                                                                                             0076
                                                                                                                      Estimated average burden
                                                                                                                      hours per
                                   Notice of Exempt Offering of Securities                                            response:
                                                                                                                                             4.00




  1. Issuer's Identity

                                                Previous
  CIK (Filer ID Number)                                        X None                            Entity Type
                                                Names
  0001672842                                                                                        Corporation
  Name of Issuer                                                                                 X Limited Partnership
  Willow Creek Investments, LP
                                                                                                    Limited Liability Company
  Jurisdiction of
  Incorporation/Organization                                                                        General Partnership
  DELAWARE                                                                                          Business Trust
  Year of Incorporation/Organization
                                                                                                    Other (Specify)
      Over Five Years Ago
   X Within Last Five Years (Specify Year) 2016
      Yet to Be Formed

  2. Principal Place of Business and Contact Information

  Name of Issuer
  Willow Creek Investments, LP
  Street Address 1                                              Street Address 2
  1 LIBERTY PLAZA, SUITE 2310
  City                           State/Province/Country         ZIP/PostalCode                    Phone Number of Issuer
  NEW YORK                       NEW YORK                       10006                             212-837-1577

  3. Related Persons

  Last Name                                First Name                               Middle Name
  Genovese                                 Nicholas
  Street Address 1                         Street Address 2
  1 Liberty Plaza, Suite 2310
  City                                     State/Province/Country                   ZIP/PostalCode
  New York                                 NEW YORK                                 10006
  Relationship: X Executive Officer        Director    Promoter

  Clarification of Response (if Necessary):

  Manager of General Partner


  4. Industry Group

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      Agriculture                                    Health Care                        Retailing
      Banking & Financial Services                      Biotechnology
                                                                                        Restaurants
            Commercial Banking                          Health Insurance                Technology
            Insurance
                                                        Hospitals & Physicians             Computers
            Investing
            Investment Banking                          Pharmaceuticals                    Telecommunications

      X Pooled Investment Fund                          Other Health Care                  Other Technology
             X Hedge Fund                            Manufacturing                      Travel
                Private Equity Fund                  Real Estate                           Airlines & Airports
                Venture Capital Fund                    Commercial                         Lodging & Conventions
                Other Investment Fund
                                                        Construction                       Tourism & Travel Services
            Is the issuer registered as
            an investment company under                 REITS & Finance                    Other Travel
            the Investment Company
            Act of 1940?                                Residential                     Other
               Yes               X No                   Other Real Estate
            Other Banking & Financial Services

      Business Services
      Energy
            Coal Mining

            Electric Utilities

            Energy Conservation

            Environmental Services

            Oil & Gas

            Other Energy


  5. Issuer Size

  Revenue Range                   OR                Aggregate Net Asset Value Range
     No Revenues                                       No Aggregate Net Asset Value
     $1 - $1,000,000                                   $1 - $5,000,000
     $1,000,001 -
                                                       $5,000,001 - $25,000,000
     $5,000,000
     $5,000,001 -
                                                       $25,000,001 - $50,000,000
     $25,000,000
     $25,000,001 -
                                                       $50,000,001 - $100,000,000
     $100,000,000
     Over $100,000,000                                 Over $100,000,000
     Decline to Disclose                            X Decline to Disclose
     Not Applicable                                    Not Applicable

  6. Federal Exemption(s) and Exclusion(s) Claimed (select all that apply)

       Rule 504(b)(1) (not (i), (ii) or (iii))         X Investment Company Act Section 3(c)

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         Rule 504 (b)(1)(i)                            X Section 3(c)(1)            Section 3(c)(9)
         Rule 504 (b)(1)(ii)
                                                         Section 3(c)(2)            Section 3(c)(10)
         Rule 504 (b)(1)(iii)
                                                         Section 3(c)(3)            Section 3(c)(11)
         Rule 505
    X Rule 506(b)                                        Section 3(c)(4)            Section 3(c)(12)
         Rule 506(c)                                     Section 3(c)(5)            Section 3(c)(13)
         Securities Act Section 4(a)(5)
                                                         Section 3(c)(6)            Section 3(c)(14)

                                                         Section 3(c)(7)


  7. Type of Filing

   X New Notice Date of First Sale X First Sale Yet to Occur
     Amendment

  8. Duration of Offering

  Does the Issuer intend this offering to last more than one year? X Yes            No

  9. Type(s) of Securities Offered (select all that apply)

     Equity                                                            X Pooled Investment Fund Interests
     Debt                                                                  Tenant-in-Common Securities
     Option, Warrant or Other Right to Acquire Another Security            Mineral Property Securities
     Security to be Acquired Upon Exercise of Option, Warrant
                                                                           Other (describe)
     or Other Right to Acquire Security

  10. Business Combination Transaction

  Is this offering being made in connection with a business combination transaction,
                                                                                                  Yes X No
  such as a merger, acquisition or exchange offer?

  Clarification of Response (if Necessary):

  11. Minimum Investment

  Minimum investment accepted from any outside investor $1,000,000 USD

  12. Sales Compensation

  Recipient                                                      Recipient CRD Number X None

                                                                 (Associated) Broker or Dealer CRD
   (Associated) Broker or Dealer X None                                                                      X None
                                                                 Number
  Street Address 1                                              Street Address 2
                                                                                                                      ZIP/Postal
  City                                                          State/Province/Country
                                                                                                                      Code
   State(s) of Solicitation (select all that
   apply)                                            All
                                                                   Foreign/non-US
   Check “All States” or check individual            States
   States

  13. Offering and Sales Amounts

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  Total Offering Amount              USD or X Indefinite
  Total Amount Sold               $0 USD
  Total Remaining to be Sold         USD or X Indefinite

  Clarification of Response (if Necessary):

  14. Investors

      Select if securities in the offering have been or may be sold to persons who do not qualify as accredited
      investors, and enter the number of such non-accredited investors who already have invested in the
      offering.
      Regardless of whether securities in the offering have been or may be sold to persons who do not           0
      qualify as accredited investors, enter the total number of investors who already have invested in the
      offering:

  15. Sales Commissions & Finder's Fees Expenses

  Provide separately the amounts of sales commissions and finders fees expenses, if any. If the amount of an expenditure is
  not known, provide an estimate and check the box next to the amount.

                    Sales Commissions $0 USD           Estimate

                           Finders' Fees $0 USD        Estimate

  Clarification of Response (if Necessary):

  16. Use of Proceeds

  Provide the amount of the gross proceeds of the offering that has been or is proposed to be used for payments to any of the
  persons required to be named as executive officers, directors or promoters in response to Item 3 above. If the amount is
  unknown, provide an estimate and check the box next to the amount.

                                          $0 USD       Estimate

  Clarification of Response (if Necessary):

  Signature and Submission

  Please verify the information you have entered and review the Terms of Submission below before signing and
  clicking SUBMIT below to file this notice.

  Terms of Submission

  In submitting this notice, each issuer named above is:

            Notifying the SEC and/or each State in which this notice is filed of the offering of securities described and undertaking
            to furnish them, upon written request, in the accordance with applicable law, the information furnished to offerees.*

            Irrevocably appointing each of the Secretary of the SEC and, the Securities Administrator or other legally designated
            officer of the State in which the issuer maintains its principal place of business and any State in which this notice is
            filed, as its agents for service of process, and agreeing that these persons may accept service on its behalf, of any
            notice, process or pleading, and further agreeing that such service may be made by registered or certified mail, in any
            Federal or state action, administrative proceeding, or arbitration brought against the issuer in any place subject to the
            jurisdiction of the United States, if the action, proceeding or arbitration (a) arises out of any activity in connection with
            the offering of securities that is the subject of this notice, and (b) is founded, directly or indirectly, upon the provisions
            of: (i) the Securities Act of 1933, the Securities Exchange Act of 1934, the Trust Indenture Act of 1939, the
            Investment Company Act of 1940, or the Investment Advisers Act of 1940, or any rule or regulation under any of
            these statutes, or (ii) the laws of the State in which the issuer maintains its principal place of business or any State in
            which this notice is filed.



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             Certifying that, if the issuer is claiming a Regulation D exemption for the offering, the issuer is not disqualified from
             relying on Regulation D for one of the reasons stated in Rule 505(b)(2)(iii) or Rule 506(d).


  Each Issuer identified above has read this notice, knows the contents to be true, and has duly caused this notice to be signed
  on its behalf by the undersigned duly authorized person.

  For signature, type in the signer's name or other letters or characters adopted or authorized as the signer's signature.

                       Issuer                                  Signature                    Name of Signer                                   Title                            Date
   Willow Creek Investments, LP                        Nicholas Genovese                Nicholas Genovese                Manager of General Partner                     2016-04-22

  Persons who respond to the collection of information contained in this form are not required to
  respond unless the form displays a currently valid OMB number.
  * This undertaking does not affect any limits Section 102(a) of the National Securities Markets Improvement Act of 1996 ("NSMIA") [Pub. L. No. 104-290, 110 Stat. 3416 (Oct. 11,
  1996)] imposes on the ability of States to require information. As a result, if the securities that are the subject of this Form D are "covered securities" for purposes of NSMIA, whether
  in all instances or due to the nature of the offering that is the subject of this Form D, States cannot routinely require offering materials under this undertaking or otherwise and can
  require offering materials only to the extent NSMIA permits them to do so under NSMIA's preservation of their anti-fraud authority.




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